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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                      Case No.: 18cv0428 DMS (MDD)
12                            Petitioners-Plaintiffs,
                                                            ORDER FOLLOWING STATUS
13     v.                                                   CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           A telephonic status conference was held on July 30, 2018. Lee Gelernt appeared
19     and argued for Plaintiffs, and Scott Stewart appeared and argued for Defendants. After
20     consulting with counsel and being advised of the status of the case, IT IS HEREBY
21     ORDERED:
22     1.    In the August 2, 2018 Status Report, Counsel shall include their respective plans for
23     reuniting parents that have been removed from the United States and parents that have been
24     released to the interior but have yet to be located.
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26     ///
27     ///
28     ///

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 1     2.       In the August 2, 2018 Status Report, Defense Counsel shall also address whether
 2     they object to production of A-files of the parents identified above to Plaintiffs on a rolling
 3     basis.
 4      Dated: July 30, 2018
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